




NO. 07-03-0199-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL D



DECEMBER 12, 2003

_____________________________





RUBEN VALENTINE MAURICIO, APPELLANT



V.



THE STATE OF TEXAS, APPELLEE



_________________________________



FROM THE 121
ST
 DISTRICT COURT OF YOAKUM COUNTY;



NO. 2057; HONORABLE KELLY G. MOORE, JUDGE



_______________________________



Before QUINN and REAVIS and CAMPBELL, JJ.

MEMORANDUM OPINION

Pending before this Court is appellant’s motion to dismiss his appeal. &nbsp;Appellant and his attorney both have signed the document stating that appellant withdraws his appeal. &nbsp;Tex. R. App. P. 42.2(a). &nbsp;No decision of this Court having been delivered to date, we grant the motion. &nbsp;Accordingly, the appeal is dismissed. &nbsp;No motion for rehearing will be entertained and our mandate will issue forthwith.

James T. Campbell

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Justice





Do not publish.




